Case 1:17-cv-02041-RJL Document 158-9 Filed 07/08/21 Page 1 of 3




                Exhibit F
  Case 1:17-cv-02041-RJL Document 158-9 Filed 07/08/21 Page 2 of 3




From: Joe Oliveri <joe@clarelocke.com>
Subject: Re: Correspondence - Fridman et al v. Bean LLC et al
Date: May 13, 2021 at 9:43:50 AM EDT
To: Josh Levy <jal@levyfirestone.com>, Rachel Clattenburg
<rmc@levyfirestone.com>, Andrew Sharp <eas@levyfirestone.com>
Cc: Tom Clare <tom@clarelocke.com>, Libby Locke <libby@clarelocke.com>,
"Andy Phillips" <andy@clarelocke.com>

Hi Josh,

Let’s talk at 2:00pm. I will call you then.

As we explained in our letter yesterday, it is premature to meet and
confer regarding the issues you raised in your May 5 letter,
including because you have failed to comply with the procedures
set forth in the Protective Order by failing to raise issues with the
designation of any specific documents in Plaintiffs’ April 29
production. (As you surely know, your blanket challenge to “all”
designations does not suffice under the Protective Order, which
does not require a producing party to justify all designations en
masse.) Of course, if and when you comply with the proper
procedures under the Protective Order, we will gladly and
promptly meet and confer with you regarding any issues properly
raised.

In addition, before further addressing the issues raised in your May
5 letter (to which we just responded yesterday), we respectfully ask
—again—that you (1) respond to our questions regarding the
improper attempt to communicate with Plaintiff German Khan
(who, as you know, is represented by counsel in this case), which
we raised with you nearly a month ago (in both an April 16 letter
and an April 28 email) but to which you have thus far refused to
respond; and (2) respond to the other issues we raised in our prior
communications to you. We desire for discovery to proceed
without delay, but it must be a two-way street. We hope you will
cooperate.
  Case 1:17-cv-02041-RJL Document 158-9 Filed 07/08/21 Page 3 of 3




Best,
Joe

Joseph R. Oliveri | Partner
CLARE LOCKE LLP
10 Prince Street | Alexandria, Virginia 22314
(202) 628-7405 - direct | (413) 657-6750 - cell
joe@clarelocke.com | www.clarelocke.com
